                                           IN THE
                                UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF VIRGINIA
                                     DANVILLE DIVISION

  UNITED STATES OF AMERICA,                      )
                                                 )
                   Plaintiff,                    )
                                                 )
  v.                                             )       Criminal No. 4:18-CR-00011
                                                 )
  ASHLEY TIANA ROSS,                             )
                                                 )
                   Defendant.                    )

       RESPONSE TO GOVERNMENT’S SECOND DEMAND FOR NOTICE OF ALIBI

            Defendant Ashley Tiana Ross responds to the Government’s Demand for Notice of Alibi

  (ECF 527), as follows:

       1. Ms. Ross was not at 124 Forest Lawn Drive in Danville, Virginia on August 20, 2016

  from noon until 2 pm. She was at her apartment as usual in Southwyck Hills with her daughter,

  Harmony. She is not certain what time she woke up that morning (a Saturday), but Tanasia

  Coleman and Tredarius Keene (Bubba) may have been there during that time period, as both

  were staying some at Ms. Ross’s apartment at the time. At some point during the afternoon, a

  family member picked Mr. Ross and her child up from the apartment to go to a birthday party.

       2.   With respect to August 20, 2016 from “10:00 p.m. to 11:00 p.m.,” after the birthday

  party ended, the family drove Ms. Ross back and dropped her off at her apartment — not sure

  exactly what time — but she was at the apartment the rest of the night.

  3.        With respect to the third time period at issue, Ms. Ross awaits the government’s response

  to the Court’s order of September 4, 2019 (ECF 701, at 7).




                                                     1

Case 4:18-cr-00011-MFU-RSB Document 707 Filed 09/06/19 Page 1 of 2 Pageid#: 4010
                                                      Respectfully submitted,

                                                      ASHLEY TIANA ROSS

                                                      By      /s/Terry N. Grimes
                                                             Of Counsel

  Terry N. Grimes, Esquire (VSB No. 24127)
  TERRY N. GRIMES, ESQ., P.C.
  320 Elm Avenue, SW
  Roanoke, Virginia 24016
  (540) 982-3711
  (540) 345-6572 Facsimile
  tgrimes@terryngrimes.com
         Counsel for Defendant

                                  CERTIFICATE OF SERVICE

         I hereby certify that the foregoing document was electronically filed with the Clerk of the

  Court using the CM/ECF system, and that a true and accurate copy of the foregoing was sent via the

  CM/ECF system to all counsel of record, on the 6th day of September, 2019.

                                                              /s/ Terry N. Grimes
                                                                  Terry N. Grimes




                                                  2

Case 4:18-cr-00011-MFU-RSB Document 707 Filed 09/06/19 Page 2 of 2 Pageid#: 4011
